
The parties appeared by consent, and the justice in his record says: After hearing the allegations of the parties, I give judgment in favor of the plaintiff for the sum of $2.28 debt, and ten cents costs.
The first exception taken to the proceeding below was, that this must have been a trial without evidence, no witness being examined. But the court said, that [250] in cases where a trial had been had in the absence of the defendant by default, and the nature of the action such as to require the examination of witnesses, they had considered it as a trial without evidence, and reversed the' judgment for that cause; but had never gone so far as to reverse the judgment for this cause, when the defendant was present, as he might admit facts sufficient to maintain the action.
It was then objected that the state of demand was insufficient to maintain the action, as it merely set out [*] the appraisement and not the other requisites of the statute; and for this cause the court reversed the judgment.
Cited in Thorpe v. Rankin, 4 Harr. 36.
